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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                             8:06CR214
                                    )
            v.                      )
                                    )
JOSE RAMIREZ-SOLANO,                )                           FINAL ORDER OF
                                    )                           FORFEITURE
                  Defendant.        )
____________________________________)


                This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 82). The Court has reviewed the record in this

case and finds as follows:

                1. On November 17, 2006, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846 and 853, based upon the

defendant's plea of guilty to Counts I and IV of the Superseding Indictment filed herein. By way

of said Preliminary Order of Forfeiture, the defendant’s interest in a 2000 GMC, VIN

1GKDT13W4Y2138983 was forfeited to the United States..

                2. On December 7, 14 and 21, 2006, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States Bureau of

Alcohol, Tobacco and Firearms to dispose of the property in accordance with the law, and further

notifying all third parties of their right to petition the Court within the stated period of time for a

hearing to adjudicate the validity of their alleged legal interest(s) in said property. An Affidavit

of Publication was filed herein on January 19, 2007 (Filing No. 81).
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               3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

Accordingly.

               IT IS ORDERED:

               A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the subject property, i.e., a 2000 GMC,

VIN 1GKDT13W4Y2138983, held by any person or entity, is hereby forever barred and

foreclosed.

               C. The subject property, i.e., a 2000 GMC, VIN 1GKDT13W4Y2138983, be and

the same hereby is, forfeited to the United States of America .

               D. The United States Bureau of Alcohol, Tobacco and Firearms is directed to

dispose of said property in accordance with law.

               DATED this 22nd day of January, 2007.

                                              BY THE COURT:

                                              /s/ Lyle E. Strom
                                              ______________________________
                                              LYLE E. STROM, Senior Judge
                                              United States District Court
